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                                        Exhibit “A”
                                     DEFINITIONS

1. “AGREEMENT” refers to the Professional Services Agreement, Master Services Agreement,
   On-Call Inspection Services Agreement, WORK DIRECTIVE or any other Inspection
   Services Agreement between NNG and YOU and any other DOCUMENT reflecting YOUR
   understanding of the AGREEMENT.

2. “AUDIT” shall have the meaning prescribed by the Professional Services Agreement, Master
   Services Agreement, On-Call Inspection Services Agreement or any other Inspection Services
   Agreement between NNG and YOU.

3. “POTENTIAL CLASS MEMBERS” means all individuals who YOU employed or
   contracted with and assigned to work for NNG or on NNG’s premises or who YOU
   subcontracted to NNG during the RELEVANT TIME PERIOD, in the position of
   inspector and who YOU paid on a day-rate without an overtime premium.

4. “CLASS MEMBER AGREEMENT” means any Professional Services Agreement, Master
   Services Agreement, On-Call Inspection Services Agreement, Contractor Agreement, Staffing
   Agreement or any other Inspection Services Agreement between YOU and any CLASS
   MEMBER.

5. “DISCUSSION” means any and all inquiries, conferences, negotiations, agreements or other
   forms or methods of oral or written communications sent via email, text, facsimile, letter or
   telegram.

6. “DOCUMENT” means a writing, recording, or photograph, as defined by Federal Rule of
   Evidence 1001. DOCUMENT is synonymous in meaning and equal in scope to the usage of
   this term in Federal Rule of Civil Procedure 34(a). A draft or non-identical copy is a separate
   DOCUMENT within the meaning of this term. “DOCUMENT” includes, but is not limited to
   any: note, memorandum, correspondence, contract, or agreement; pamphlet or manual
   computer printout; computer tape; tape recording; photograph, photographic negative, or
   transparency; movie film; videotape recording; and every writing, printed, or other graphic
   material of any kind whatsoever.

7. “NNG” means Defendant Northern Natural Gas Company, its subsidiaries, and alleged
   related entities, general partners or any other NNG entity or affiliate.

8. “NNG PROCEDURES” refers to or describes all of NNG’s written practices, policies and
   procedures YOU or the CLASS MEMBERS were required to comply with, adhere to or
   follow while performing work for or on behalf of NNG during the RELEVANT TIME
   PERIOD.

9.    “LAWSUIT” refers to the above captioned lawsuit.

10. “RELEVANT TIME PERIOD” refers to the date range from March 11, 2018 to the
    present.


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11. “WORK DIRECTIVE” refers to or describes the work performed by the CLASS
    MEMBER for NNG during the RELEVANT TIME PERIOD.

12. “YOU” or “YOUR” refers to NAME OF INSPECTION VENDOR the recipient of
    this subpoena.




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Produce copies of any and all of the following DOCUMENTS:


1. Produce all AGREEMENTS and any drafts, addendums or amendments thereto, and other
   DOCUMENTS describing or governing the relationship between YOU and NNG
   applicable during the RELEVANT TIME PERIOD, including any documents that relate to
   choice of law, arbitration obligations, third-party beneficiary designation, and
   indemnification obligations.

2. Produce all DOCUMENTS containing DISCUSSIONS concerning the choice of law
   applicable to any AGREEMENTS between YOU and NNG during the RELEVANT
   TIME PERIOD and include in your production any DOCUMENTS which contain the
   choice of law applicable to the AGREEMENT between YOU and NNG.

3. Produce all DOCUMENTS containing DISCUSSIONS between YOU and NNG during
   the RELEVANT TIME PERIOD which pertain to the compensation of the POTENTIAL
   CLASS MEMBERS.

4. Produce all DOCUMENTS containing DISCUSSION between YOU and NNG during the
   RELEVANT TIME PERIOD which pertain to compliance with the FLSA.

5. Produce all DOCUMENTS which contain ARBITRATION AGREEMENTS requiring
   POTENTIAL CLASS MEMBERS to arbitrate their FLSA claims with NNG.

6. Produce all DOCUMENTS containing DISCUSSIONS between YOU and NNG regarding
   NNG’s right to enforce YOUR CLASS MEMBER AGREEMENT.

7. Produce all DOCUMENTS identifying the POTENTIAL CLASS MEMBERS, their worker
   ID, dates of employment, locations worked for NNG, and the compensation YOU paid the
   POTENTIAL CLASS MEMBERS. This information can be provided in an Excel
   spreadsheet.

8. Produce all invoices submitted by POTENTIAL CLASS MEMBERS to YOU during the
   RELEVANT TIME PERIOD.

9. Produce all invoices submitted by YOU to NNG during the RELEVANT TIME PERIOD.

10. Produce all timesheets YOU maintained for each POTENTIAL CLASS MEMBER during
    the RELEVANT TIME PERIOD.

11. Produce all offer letters YOU had with each POTENTIAL CLASS MEMBER during the
    RELEVANT TIME PERIOD.

12. Produce all pay records for POTENTIAL CLASS MEMBERS who performed work on
    NNG’s projects during the RELEVANT TIME PERIOD. This information can be
    provided in an Excel spreadsheet.

13. Produce YOUR employee handbook, and employee policies, procedures, and guidelines
    provided to the POTENTIAL CLASS MEMBERS.

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14. Produce all DOCUMENTS including job descriptions, job duties, and job postings
    applicable to the POTENTIAL CLASS MEMBERS.

15. Produce all DOCUMENTS pertaining to any AUDITS NNG conducted of YOUR wage
    and hour practices and FLSA compliance with respect to any POTENTIAL CLASS
    MEMBERS during the RELEVANT TIME PERIOD.

16. Produce all NNG PROCEDURES YOU or the POTENTIAL CLASS MEMBERS were
    required to follow during the RELEVANT TIME PERIOD.

17. Produce all DISCUSSIONS between YOU and the POTENTIAL CLASS MEMBERS
    during the RELEVANT TIME PERIOD.




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                                          EXHIBIT B

                       DEPOSITION BY WRITTEN QUESTIONS

1.    State your full name, occupation, and employer.

Answer:

2.    Identify the source(s) of information responsive to Exhibit A that you used to prepare your
      answer to Exhibit A’s Requests.

Answer:

3.    Are the records upon which the information provided in response to the Requests in Exhibit
      A kept under your care, supervision, custody, or control?

Answer:

4.    Are these records originals or exact copies of original documents?

Answer:

5.    Were these records made at or near the time of the acts, events or conditions described
      therein?

Answer:

6.    Were these records made by, or form information transmitted by, someone with knowledge
      of the acts, events or conditions described therein?

Answer:

7.    Were these records kept in the course of a regularly conducted business activity?

Answer:

8.    Was making these records a regular practice of that business activity?

Answer:

9.    Does the source of information reflected in these records, and the method of preparing
      these records, indicate the records are of a trustworthy nature?

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Answer:

10.      If your answer to any of Questions 3 to 9 is “No,” please explain.

Answer:




By: ______________________________

Signature of Witness

Title: _____________________________

Date: _____________________________

                                         CERTIFICATION

BEFORE ME, the undersigned authority, on this day personally appeared _______________

_________________________, known to me to be the person whose name is subscribed to the
foregoing instrument in the capacity therein stated, who being first duly sworn, stated upon his/her
oath that the answers to the foregoing questions are true and correct. I further certify that the
records attached hereto are exact duplicates of the original records.

         SWORN TO AND SUBSCRIBED before me this __________ day of _____________,
2021.


                                        _________________________________________
                                                Notary Public
My Commission Expires:




________________________




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